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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION



HANGZHOU CHIC INTELLIGENT               )
TECHNOLOGY CO. and UNICORN              )
GLOBAL, INC.,                           )
                                        )
                  Plaintiffs,           )   Case No. 20-cv-4806
                                        )
     v.                                 )   Judge Thomas M. Durkin
                                        )   Magistrate Judge Jeffrey Cole
THE PARTNERSHIPS AND                    )
UNINCORPORATED ASSOCIATIONS             )
IDENTIFIED ON SCHEDULE A,               )
                                        )
                  Defendants.           )
                                        )




            REPLY MEMORANDUM TO PLAINTIFFS’ OPPOSITION TO
          DEFENDANT AND THIRD-PARTY RESPONDENTS’ MOTION FOR
               SUMMARY JUDGEMENT OF NON-INFRINGEMENT
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       Defendant Gyroor-US (“Defendant” or “Gyroor-US”) and third-party respondents Gyroor,

Urbanmax, GaodeshangUS, Fengchi-US, Gyroshoes, and HGSM (collectively, “Third-Party

Respondents”) hereby submit this reply to Plaintiffs Hangzhou Chic Intelligent Technology Co.,

Ltd. (“Chic”) and Unicorn Global, Inc.’s (“Unicorn”, and collectively with Chic, “Plaintiffs”)

opposition to Defendant and Third-Party Respondents’ Motion for Summary Judgment [Dkt. 635].

                             I.   PRELIMINARY STATEMENT

       Defendant and Third-Party Respondents’ Motion for Summary Judgment shall be granted

as there is no genuine dispute that the Accused Products do not infringe the Patents-in-Suit. In

their opposition, Plaintiff tried to create a genuine dispute of material fact by relying on Mr.

Hatch’s new report; however, none of Mr. Hatch’s reports may be considered by this Court. First,

Plaintiffs’ submission of the same version of Mr. Hatch’s report prior to the close of expert

discovery were criticized and rejected by the Federal Circuit Court. Second, despite this Court

ordered that expert discovery closes on October 26, 2022, months later Plaintiffs disregarded the

July 11, 2022 Scheduling Order and submitted new reports of Mr. Hatch twice. As a result, all of

Mr. Hatch’s reports carry no weight as the reports are either unreliable or untimely and must be

excluded.

       As discussed below, the Federal Circuit and this Court have repeatedly rejected Plaintiffs’

expert, Mr. Hatch’s reports, opinions and analysis methods Plaintiffs’ newly submitted expert

declaration in support of their opposition to Defendant and Third-Party Respondents’ summary

judgment should also be excluded since it is not only untimely but also unjustified and harmful to

Defendant and Third-Party Respondents. This is not the first time that Plaintiffs offered new

evidence after expert discovery was closed. Plaintiffs repeatedly and maliciously violated the

Court’s schedule and Federal Civil Procedure Rule regarding discovery. It would also be highly



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prejudicial to Defendants and Third-Party Respondents in this case to allow Plaintiffs to submit

and continue to offer new expert report to the Court after discovery is closed.

        Moreover, Plaintiffs and their expert conducted ordinary observer analysis using the

wrong standard. The correct standard is the hypothetical ordinary observer should be a purchaser

who is familiar with hoverboards and prior art designs. In addition, as the claimed design in the

Patents-in-Suit is similar if the almost the same compared to the prior art designs, small differences

between the Patents-in-Suit and accused products are likely to be important to the eye of the

hypothetical ordinary observer. When these functional aspects are properly discounted and the

remaining ornamental designs are compared, there is no question of fact that, in the eyes of an

ordinary observer, the claimed designs of the Patents-in-Suit are plainly dissimilar to the accused

products. Even if the Court finds that the claimed and accused designs are not plainly dissimilar,

in light of the prior art, no reasonable ordinary observer will find that the designs of the accused

products is substantially similar to the claimed designs of Patents-in-Suit.

                 II.   RELEVANT FACTS AND PROCEDURAL HISTORY

        Plaintiffs allege that Defendant and Third-Party Respondents’ products (the “Accused

Products”) infringed on their U.S. Design Patent Nos. D737,723 (“the ’D723 Patent”), D738,256

(“the ’D256 Patent”), D785,112 (“the ’D112 Patent”), D784,195 (“the ’D195 Patent”) (collectively,

“Patents-in-Suit”). [Dkt. 101]. The Accused Products were grouped and identified as “Gyroor A”,

“Gyroor B”, “Gyroor C”, “Gyroor D”, and “Gyroor E”1. [Dkt. 629]. All of the Accused Products

are manufactured based on the U.S. Design Patents D808,857 (the “D’857 Patent”), U.S. Design


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 “Gyroor-E” was first identified in the “Exhibit B” of the proposed order of Plaintiffs’ second
preliminary injunction order, but Plaintiffs had never mentioned it in any of their motion papers.
[Dkt. 456]. On October 28, 2022, the proposed order which includes the Accused Product E was
vacated by the Federal Circuit. As it is unclear whether “Gyroor E” is Accused Product in the
current case, Defendant filed a motion to clarify on December 9, 2022. [Dkt. 625], and the
motion is currently pending with the Court.
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Patents D808,856 (the “D’856 Patent”), and U.S. Design Patents D891,297 (the “D’297 Patent”),

respectively. Id. The U.S. Design Patent D739,906 (the “D’906 Patent”) was filed on March 12,

2013, earlier than any Patents-in-Suit. Therefore, the D’906 Patent is prior art to all Patents-in-

Suit. [Dkt. 414-1].

       On November 20, 2020, Plaintiffs filed their first motion for preliminary injunction against

Defendant, which the Court granted shortly after. [Dkt. 105].

       On August 24, 2021, Plaintiffs filed a second preliminary injunction against the Third-

Party Respondents [Dkt. 384]. The Court granted Plaintiffs’ second preliminary injunction on

October 13, 2021. [Dkt. 456].

       After Federal Circuit vacated the two preliminary injunction orders issued by this Court,

Plaintiffs filed their renewed motion for temporary restraining order and preliminary injunction

against Defendant and Third-Party Respondents on November 9, 2022. [Dkt. 592]. The Court

denied the motion on December 2, 2022. [Dkt. 619].

       On December 23, 2022, Defendant and Third-Party Respondents respectfully submitted their

Motion for Summary Judgment of Non-infringement for Accused Products. [Dkt. 629, 630].

       On January 25, 2023, Plaintiffs filed their opposition to Defendant and Third-Party

Respondents’ Motion for Summary Judgment with their newly submitted expert declaration. [Dkt.

635, 637].

                                   III. LEGAL STANDARD

       Summary judgment is appropriate when the movant establishes that “there is no genuine

dispute as to any material fact and [that] the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). The moving party is “entitled to a judgment as a matter of law” because the




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nonmoving party has failed to make a sufficient showing on an essential element of her case with

respect to which she has the burden of proof. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

        A material fact is one which might affect the outcome of the suit under applicable

law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). No genuine issue exists “unless

there is sufficient evidence favoring the non-moving party for a jury to return a verdict for that

party.” Id. at 249. Summary judgment may be granted if the evidence is merely colorable or is not

significantly probative. Id. To defeat summary judgment, a non-movant must produce more than

a “mere scintilla of evidence” and come forward with “specific facts showing that there is a

genuine issue for trial.” Johnson v. Advocate Health and Hosps. Corp., 892 F.3d 887, 894, 896

(7th Cir. 2018).

        Northern District of Illinois Local Rule 56.1 requires the “party moving for summary

judgment to include with that motion ‘a statement of material facts as to which the moving party

contends there is no genuine issue and that entitle the moving party to a judgement as a matter of

law.’ ” Ammons v. Aramark Unif. Servs., Inc., 368 F.3d 809, 817 (7th Cir.2004) (quoting N.D. Ill.

R. 56.1(a)(3)). The movant bears the initial burden of establishing that no genuine issue of material

fact exists. Genova v. Kellogg, 12 C 3105, 2015 WL 3930351, at *3 (N.D.Ill. June 25, 2015). “The

burden then shifts to the nonmoving party to show through specific evidence that a triable issue of

fact remains on issues on which the movant bears the burden of proof at trial.” Id. The non-moving

party must respond to the movant’s Local Rule 56.1(a)(3) statement and may not rest upon mere

allegations in the pleadings or upon conclusory statements in affidavits. N.D. Ill. R. 56.1(b). The

non-movant must go beyond the pleadings and support his contentions with documentary evidence

of specific facts that demonstrate that there is a genuine issue for trial. Celotex, 477 U.S. at 324.




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                                        IV. ARGUMENT

A.     Plaintiffs’ Expert Reports Have Been Repeatedly Rejected by the Federal Circuit and
       This Court

       Expert testimony is admissible if the party offering such evidence shows that the testimony

is both reliable and relevant. Fed. R. Evid. 702; Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147

(1999); Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 590–91 (1993). Federal Rule of

Evidence 702 permits expert testimony if “(a) the expert’s scientific, technical, or other specialized

knowledge will help the trier of fact to understand the evidence or to determine a fact in issue; (b)

the testimony is based on sufficient facts or data; (c) the testimony is the product of reliable

principles and methods; and (d) the expert has reliably applied the principles and methods to the

facts of the case.” Fed. R. Evid. 702. An expert can be qualified “by knowledge, skill, experience,

training, or education.” Id.

          Plaintiffs’ expert reports submitted before the expert discovery cut-off are inadmissible
          and have been criticized and rejected by the Federal Circuit.

       Plaintiffs have submitted multiple reports of Mr. Hatch in support of their arguments

regarding patent infringement. However, Federal Circuit criticized and rejected Mr. Hatch’s

reports because of their unreliability. “The Hatch reports, far from recognizing that the hourglass

figure of the asserted patents could not be relied on to establish substantial similarity, improperly

relied on that feature to show substantial similarity. The Hatch reports did not support a finding of

substantial similarity.” ABC Corp. I v. P’ship & Unincorporated Associations Identified on

Schedule “A”, 52 F.4th 934, 943 (Fed. Cir. 2022).

       First, Mr. Hatch’s report failed to conduct a three-way analysis comparing the accused

product, the patented design, and the prior art. Id. Mr. Hatch failed to consider the prior art while

the D’906 patent is highly relevant to the question of infringement because it discloses an



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“hourglass” shape, a prominent feature common to the asserted patents and most of the accused

products. Id.

       Second, Mr. Hatch failed to analyze infringement on a product-by-product basis. Id., at 944.

“After each table, Hatch provided a cursory analysis concluding that ‘the overall impression of the

claimed design ... is entirely unique’ and that ‘[n]one of the prior art create the impression of’ the

claimed design.” Id, at 938.The entirety of the Hatch report’s infringement analysis for the Patents-

in-suit is imprecise. Id., at 944. “In each case he focuses on the accused products as a group, rather

than each product individually.” Id.

       Third, Mr. Hatch used wrong legal standard of ordinary observer that “the ordinary

observer “in this case is the typical purchaser of hoverboards, i.e., a consumer user or the parent

of a user, each having little or no experience purchasing hoverboards.” [Dkt. 388, p. 8]. However,

the Federal Circuit noted that “[W]hen the differences between the claimed and accused design

are viewed in light of the prior art, the attention of the hypothetical ordinary observer will be drawn

to those aspects of the claimed design that differ from the prior art.” ABC Corp., 52 F.4th at 938

(citing Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 676 (Fed. Cir. 2008)).

       Therefore, Mr. Hatch’s reports should be inadmissible for lacking reliable principles and

methods.

           Plaintiffs’ untimely expert report to support their renewed motion for Preliminary
           Injunction has also been rejected by this Court.

       On November 9, 2022, Plaintiffs filed their renewed motion for preliminary injunction with

a new declaration by Mr. Hatch. [Dkt. 594]. The report is untimely while the expert discovery had

already been closed by October 23, 2022. [Dkt. 575]. The newly submitted declaration in support

of Plaintiffs’ renewed motion for preliminary injunction should not be considered after the cut-off

of the discovery period, and further this Court rejected this Paul Hatch’s new declaration.


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        In this declaration, Mr. Hatch tried to cure his mistakes in the prior reports by clarifying

that he understands that the D’906 prior art also obviously shows an hourglass shape. [Dkt. 594,

¶29]. However, again, Mr. Hatch’s method of analysis had been rejected by this Court. “The

problem with Hatch’s analysis is that he does not explain why simply featuring pronounced

footings and open fenders means the accused products are substantially similar to the patents in

suit while the prior art is in another ‘ballpark.’ This categorical distinction is curious because he

concedes that all the designs at issue—the prior art, the patents in suit, and the accused products—

create the visual impression of an integrated hourglass shape. In the Federal Circuit’s terms, the

hourglass shape is the ‘dominant feature’ across all the relevant designs. This finding from the

Federal Circuit means that Hatch’s categorical distinction is erroneous. To the contrary, all the

designs are in the same ‘ballpark,’ so to speak, because they all feature an ‘integrated hourglass

shape.’” [Dkt. 626, p.11]. “Hatch’s analysis stops at the fact that both the patents in suit and the

accused products merely possess these features. In his opinion, this similarity would be sufficient

to deceive the ordinary observer. However, Hatch failed to conduct an analysis of whether these

features themselves are substantially similar in the manner of their design, which is where “the

focus” of the analysis must be.” Id., at 12. Therefore, this Court also rejected Mr. Hatch’s method

of analysis. Id.

        The Federal Circuit and this Court have repeatedly rejected all of Plaintiffs’ expert reports

as a result of Mr. Hatch’s unreliable reports incorporating incorrect standard for analysis.

Therefore, Plaintiffs’ allegations of design patent infringement are merely lawyer’s conclusory

arguments without any evidence or support.

B.      Plaintiffs’ Newly Submitted Expert Declaration Should Be Excluded

        Rule 37(c)(1) provides that “[i]f a party fails to provide information or identify a witness

as required by Rule 26(a) or (e), the party is not allowed to use that information or witness to

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supply evidence on a motion, at a hearing, or at a trial, unless the failure was substantially justified

or is harmless.” Fed. R. Civ. P. 37(c)(1). The obligation to disclose expert witnesses is governed

by Rule 26(a).

        Under Rule 37(c)(1), “[a] party that without substantial justification fails to disclose

information required by Rule 26(a) ... is not, unless such failure is harmless, permitted to use as

evidence at a trial, at a hearing, or on a motion any witness or information not so disclosed.” Thus,

where a party does not timely file expert reports, the district court may exclude the party’s expert

from testifying at trial on the matters the party was required to disclose. NutraSweet Co. v. X-L

Engineering Co., 227 F.3d 776, 785 (7th Cir.2000). The sanction of exclusion is automatic and

mandatory unless the sanctioned party can show that its violation of Rule 26(a) was either justified

or harmless. Keach v. U.S. Trust Co., 419 F.3d 626, 639 (7th Cir.2005); Salgado by Salgado v.

General Motors Corp., 150 F.3d 735, 742 (7th Cir.1998).

        Under Rule 26(a)(2), a party must disclose by the court-ordered time a written report of a

retained expert that includes “a complete statement of all opinions the witness will express and the

basis and reasons for them.” Fed. R. Civ. P. 26(a)(2)(B)(i), (D). Rule 26(a)(2) further requires that

parties disclose rebuttal reports—that is, “evidence [that] is intended solely to contradict or rebut

evidence on the same subject matter identified by another” expert—by the court-ordered time, or

if no such time is set, 30 days after the other expert’s disclosure. Fed. R. Civ. P. 26(a)(2)(D) (ii).

Apart from initial expert reports and rebuttal expert reports, Rule 26 also contemplates

supplemental expert filings. Rule 26(e) requires that, if an expert “learns that in some material

respect the disclosure ... is incomplete or incorrect, and if the additional or corrective information

has not otherwise been made known to the other parties during discovery,” he must supplement

his disclosure by the time pretrial disclosures are due. Fed. R. Civ. P. 26(e)(1)(A), (2).



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     1. The newly submitted expert declaration of Paul Hatch is untimely.

       On July 11, 2022, the Court ordered that parties must serve expert reports on all issues for

which they bear the burden of proof on August 15, 2022, and expert discovery closes by October

23, 2022. [Dkt. 575]. Instead of using Mr. Hatch’s final report that was exchanged with Defendant

and Third-Party Respondents prior to the close of expert discovery, surprisingly Plaintiffs once

again submitted a brand-new expert report of Paul Hatch regarding infringement of Patents-in-Suit

on January 25, 2023. [Dkt. 637].

       The Local Rules of the Northern District of Illinois provide with exact specificity that a

deadline for discovery means that discovery must be completed by that date. Local Rule 16.1,

Standing Order Establishing Pretrial Procedure; See also FTC v. Bay Area Business Council, Inc.,

423 F.3d 627 (7th Cir.2005) (stressing importance of compliance with the Local Rules). Thus, it

would be inappropriate and untimely under the local rules to serve a new expert report after the

close of discovery that the other side could neither depose the expert nor engage a rebuttal expert

of its own. In re Sulfuric Acid Antitrust Litigation, 231 F.R.D. 320, 327 (N.D.Ill.2005).

Recognizing that courts must have the authority to enforce discovery deadlines, numerous cases

have approved exclusion orders by district courts where expert reports were not provided until

nearly the close of discovery. Finwall v. City of Chicago, 239 F.R.D. 494, 499 (N.D. Ill.),

objections overruled, 239 F.R.D. 504 (N.D. Ill. 2006). For example, the Seventh Circuit upheld

the district court’s barring of the testimony of an expert witness identified just two days before the

deadline. Id; See also Scaggs v. Consolidated Rail Corp., 6 F.3d 1290, 1295-96 (7th Cir. 1993).

       The new expert testimony of Paul Hatch must be barred. The expert discovery closed on

October 23, 2022, yet Plaintiffs submit this new expert report signed on January 25, 2023 along

with its opposition. It is beyond debate that having new expert report leaves Defendant and Third-

Party Respondents no time for depositions or discovery regarding this report or provide any

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rebuttal experts reports. Defendant and Third-Party Respondents have no opportunity to provide

any response if any, while Plaintiff gets fourth bite at the apple and even more down the road.

       Further, the new expert testimony is not supplemental within the meaning of Rule 26(e).

See Callpod, Inc. v. GN Netcom, Inc., 703 F. Supp. 2d 815, 823 (N.D. Ill. 2010) (“Supplemental

expert reports are permitted if they are based upon information discovered after the initial

disclosure or upon the realization that the original disclosure was incorrect or incomplete.”).

Apparently, the new expert report is not based upon information discovered after the initial

disclosure or upon the realization that the original disclosure was incorrect or incomplete. Plaintiffs’

purpose of submitting the expert report is to cure the deficiencies of the previous reports submitted

by the same expert after the expert’s opinions in the previous reports were criticized and rejected

by the Federal Circuit and this Court. [Dkt. 587 and Dkt. 626].

       However, even if the Court finds that Plaintiffs’ new expert report is supplemental to their

original reports, this report should also be excluded. According to the Rule 26(e) of the Federal

Rules of Civil Procedure, a party’s obligation to supplement or correct a discovery disclosure

(including expert reports) is limited to information thereafter acquired. Council 31 v. Ward, No.

87 C 356, 1995 WL 549022, at *1 (N.D. Ill. Sept. 12, 1995), aff’d sub nom. Council 31, Am. Fed’n

of State, Cnty. & Mun. Emps., AFL-CIO v. Doherty, 169 F.3d 1068 (7th Cir. 1999). By its plain

language, the rule refers to information not in the possession of the party when the original

disclosure was made, and it does not contemplate the submission of a new expert report re-

analyzing information which the party possessed when the original report was filed. Id. Here,

Plaintiffs’ newly submitted expert report only contains information obtained prior to the initial

disclosure, and Plaintiffs have not identified any newly acquired information. Hence, Plaintiffs

also failed to show that their new expert report falls within the ambit of Rule 26(e).



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     2. Plaintiffs’ failure to timely serve the expert report was not substantially justified or
     harmless.

       Federal Rule of Civil Procedure 37 governs the consequences of failures to comply with

Rule 26. Under Rule 37(c), a party “is not allowed to use” an untimely disclosure “unless the

failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). The party seeking to

excuse its delay bears the burden of showing justification and harmlessness. See, e.g., S.E.C. v.

Nutmeg Grp., LLC, No. 09 C 1775, 2017 WL 4925503, at *1 (N.D. Ill. Oct. 31, 2017). In deciding

whether a party’s failure was justified or harmless, courts “consider and weigh the following

factors: (1) the prejudice or surprise to the party against whom the evidence is offered; (2) the

ability of that party to cure the prejudice; (3) the likelihood of disruption to the trial; and (4) the

bad faith or willfulness involved in not disclosing the evidence at an earlier date.” Karum Holdings

LLC v. Lowe’s Cos., Inc., No. 15 C 380, 2017 WL 5593318, at *3 (N.D. Ill. Nov. 21, 2017)

(citing David v. Caterpillar, Inc., 324 F.3d 851, 857 (7th Cir. 2003)).

       Plaintiffs failed to offer any explanation or show any justification for this new expert

declaration. Neither Plaintiffs can establish that their late service of expert report was harmless.

Defendant and Third-Party Respondents have been harmed because they missed the opportunity

to file rebuttal evidence and conduct any depositions directed at the opinions in Plaintiffs’ new

expert report. There is no reason for the Court to reopen discovery for the parties to submit new

expert reports and rebuttal report for the sake of Plaintiffs even though they had over two years to

submit a reliable expert report but failed to do so. This whole new process would no doubt

unreasonably delay the whole process and affect the briefing schedule and case management. In

addition, it is worth noting that this is not the first time Plaintiffs offered new evidence after

discovery was closed. In support of their Motion for Entry of a Temporary Restraining Order and

Preliminary Injunction, Plaintiffs submitted a brand-new expert report of Paul Hatch regarding


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Defendant and Third Party’s infringement of U.S. Patents D737,723 and D738,256 approximately

20 days after expert discovery closes. [Dkt. 594]. Plaintiffs cannot keep submitting new expert

report to the Court after discovery was closed as it would be prejudicial to Defendant and Third-

Party Respondents if the untimely expert report was allowed and would cause significant burdens

and undue delay in summary judgment briefing and the ultimate resolution of this case. See e.g.,

Bowman v. International Business Mach. Corp, 2012 WL 6596933, at 3–4 (concluding that the

plaintiffs’ untimely expert rebuttal reports were not harmless because “reopening discovery to re

depose Plaintiffs’ experts would create significant costs and would delay the resolution of the

motion”); see also Musser v. Gentiva Health Servs., 356 F.3d 751, 759 (7th Cir. 2004) (“[I]t is not

an abuse of discretion to conclude that the additional costs to Gentiva of preparing a new summary

judgment motion and further delay in extending the trial date are not harmless.”).

       In fact, Defendant and Third-Party Respondents would be extremely prejudiced if Plaintiffs’

new expert report in its response to motion for summary judgment is considered by the Court. It

is impossible for Defendant and Third-Party Respondents’ expert to submit a new rebuttal report

with limited time and Mr. Hatch’s declaration is over 100 pages with new opinions. The litigation

process does not include “a dress rehearsal or practice run” for the parties. Steen v. Myers, 486

F.3d 1017, 1022 (7th Cir.2007) (quoting Hammel v. Eau Galle Cheese Factory, 407 F.3d 852, 859

(7th Cir.2005)). Plaintiffs have no right to repeatedly submit new expert report at any time after

the discovery period is closed as their wishes by disregarding the Civil Procedure Rules and the

Court’s Orders. Therefore, Plaintiffs’ new expert report should be excluded.

C.     It Is Appropriate for the Court to Grant Summary Judgment of Non-infringement
       As There Is No Genuine Dispute as to Any Material Fact

       In order to establish design patent infringement, a plaintiff must show that “an ordinary

observer, familiar with the prior art designs, would be deceived into believing that the accused


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product is the same as the patented design.” Crocs, Inc. v. Int’l Trade Comm’n, 598 F.3d 1294,

1303 (Fed. Cir. 2010) (citing Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 681 (Fed. Cir.

2008) (en banc)). “When the differences between the claimed and accused design are viewed in

light of the prior art, the attention of the hypothetical ordinary observer will be drawn to those

aspects of the claimed design that differ from the prior art.” Egyptian Goddess, 543 F.3d at 676.

       When the differences between the claimed and accused design are viewed in light of the

prior art, the attention of the hypothetical ordinary observer would be drawn to those aspects of

the claimed design that differ from the prior art. Id. And when the claimed design is close to the

prior art designs, small differences between the accused design and the claimed design are likely

to be important to the eye of the hypothetical ordinary observer. Id.

          Plaintiffs failed to provide any admissible expert testimony in support of their opposition
          to Defendant and Third-Party Respondents’ motion for summary judgment.

       In Egyptian Goddess, the court affirmed summary judgment of noninfringement where

claimed design had buffer pads on all four sides of its rectangular shaped frame while the accused

product had buffer pads on only three sides. The Court also found that patentee's expert failed to

present any nonconclusory testimony as to why an ordinary observer would find that accused

design to be more similar to the claimed design than to the prior art while the accused infringer

presented evidence that purchasers considered the number of sides having a pad important which

would help the ordinary observe easily distinguish between a block with pads on three sides from

a block with pads on four sides. Egyptian Goddess, 543 F.3d at 680-83.

       Like Egyptian Goddess, Plaintiff’s opposition to Defendant and Third-Party Respondents’

motion for summary judgement is based solely on conflicting expert testimony and opinions

regarding Defendant and Third-Party Respondents’ alleged infringement. [Dkt. 635, p. 21].

However, as discussed above, Plaintiffs’ untimely newly submitted report should be excluded for


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violating the federal and local rules. Further, Federal Circuit and this Court has repeatedly rejected

all of Plaintiff’s expert reports, opinions, and analysis methods. Thus, Plaintiffs failed to provide

any admissible expert testimony in opposition summary judgment or even any credible evidence

that would support their opposition. Plaintiffs’ arguments incorporating excluded and inadmissible

expert testimony could not be used to support that there is a genuine dispute as to the material facts

of the infringement of Patents-in-Suit.

       While a conclusory statement by an attorney that an accused device infringes a patent and

an expert’s unsupported conclusion on the ultimate issue of infringement are “wholly insufficient

to raise an evidentiary dispute for a jury.” Honston v. IVAC Corp., 885 F.2d 1574, 1578

(Fed.Cir.1989); Int'l Rectifier Corp. v. LXYS Corp., 361 F.3d 1363, 1375 (Fed.Cir.2004); HR U.S.

LLC v. Mizco Intern., Inc., 2009 WL 890550, *11–*13 (E.D. N.Y. 2009) (granting accused

infringer summary judgment that it did not infringe a design patent for an ornamental design of a

palm pilot holder and rejecting argument that the patentee's expert's declarations raised an issue of

fact as to the ordinary observer test over the court's visual inspection of the claimed design and the

accused product); Rainworks Ltd. v. Mill-Rose Co., 622 F. Supp. 2d 650 (N.D. Ohio 2009)

(granting accused infringer summary judgment of no design patent infringement and ruling that

patentee's conclusory statements that a reasonable jury could find infringement failed to meet the

patentee's burden to raise an issue of fact as to infringement).

          The hypothetical ordinary observer should be a purchaser who is familiar with
          hoverboards and the prior art designs.

       It is undisputed that “where there are many examples of similar prior art designs …

differences between the claimed and accused designs that might not be noticeable in the abstract

can become significant to the hypothetical ordinary observer who is conversant with the prior art.”

Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 678 (Fed. Cir. 2008); see also Super-Sparkly Safety


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Stuff, LLC v. Skyline USA, Inc., 836 F. App’x 895, 898 (Fed. Cir. 2020). The Federal Circuit holds

that “the ordinary observer is deemed to view the differences between the patented design and the

accused product in the context of the prior art. When the differences between the claimed and

accused design are viewed in light of the prior art, the attention of the hypothetical ordinary

observer will be drawn to those aspects of the claimed design that differ from the prior art.” Lanard

Toys Ltd., 958 F.3d at 1344 (quoting Egyptian Goddess, 543 F.3d at 676).

       In Plaintiffs’ newly submitted expert declaration, Mr. Hatch avers that an ordinary observer

should be “the principal purchaser of hoverboards, i.e., a consumer user or the parent of a user,

each having little or no experience purchasing hoverboards.” See Decl. of Hatch, Ex. 1, ¶¶ 42. Dkt.

637. Hatch further claims that “the ordinary observer encounters products like the Claimed

Designs via online stores, television and entertainment media, and social media, and purchases

them using online stores or from ‘brick and mortar’ stores like Best Buy or Walmart” and that “it

is my opinion that the hypothetical ordinary observer would possess ‘ordinary acuteness’ and

would apply a relatively low level of attention to the aesthetics of the product.” Id. ¶¶ 42, 160.

       A purchaser “having little or no experience purchasing hoverboards” and “apply a

relatively low level of attention to the aesthetics of the product” only suggests that the purchaser

lacks knowledge of hoverboards and prior art, which is the opposite to someone “who is conversant

with the prior art” in Egyptian Goddess. Here, it is undisputed that there are many examples of

similar prior art designs that are relevant to the Accused Products. Therefore, in light of the many

similar prior arts, the hypothetical ordinary observer in this case should be a purchaser who is

familiar with hoverboards and the prior art designs. See Decl. of Gandy, Ex.2, ¶¶21; Decl. of Rake,

Ex.3, ¶¶ 39. Dkt. 629. Defendant and Third-Party Respondents’ application that “the hypothetical

ordinary observer in this case should be a purchaser who is familiar with hoverboards and the prior



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art” is consistent with the precedents and should be adopted by expert for further infringement

analysis. Id; see also Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312, 1337 (Fed. Cir.

2015) (“The ordinary observer is one of ordinary acuteness who is a principal purchaser of the

underlying articles with the claimed designs.”). An ordinary observer would not only pay attention

to overall impressions of the object but also look to small details to differentiate between designs.

Mr. Hatch, given his expertise, should be well informed about the ordinary observer standard but

instead offers a relatively incorrect standard in direct contrast with Egyptian Goddess. Thus,

Plaintiffs and Mr. Hatch rely upon incorrect understanding of the ordinary observer test and use

wrong definition of the ordinary observer.

          Small differences between the Patents-in-Suit and Accused Products are likely to be
          important to the eye of the hypothetical ordinary observer.

       The Patents-in-Suit, the D’906 patent and the Accused Products all have similar hourglass

peripheral shape. Therefore, the hourglass in shape in the Patents-in-Suit and the Accused Products

did not “depart conspicuously” from the prior art D’906 patent. As observed by Defendant and

Third-Party Respondents’ expert Mr. Gandy, the hourglass peripheral shape of the prior art D’906

patent appears to be closer to the claimed design in the Patents-in-Suit than the design of Accused

Products. See Decl. of Gandy, Ex.2, ¶47. Thus, as the claimed design in the Patents-in-Suit is close

to the prior art designs, small differences between the Patents-in-Suit and Accused Products are

likely to be important to the eye of the hypothetical ordinary observer. See Egyptian Goddess, 543

F.3d at 676.

       Plaintiffs’ argument that small visual details would not affect the ordinary observer’s

overall impression of the designs supported by Mr. Hatch’s new inadmissible report is also

conclusory and meritless. In Mr. Hatch’s declaration, he concluded that “it is my opinion that the

hypothetical ordinary observer would possess ‘ordinary acuteness’ and would apply a relatively


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low level of attention to the aesthetics of the product. Thus, small visual details (e.g., such as the

air vent pattern on the underside or the specific shape of the shallow grooves on the foot pads)

would not affect their overall impression of the object as a whole.” [Dkt. 637]. However, this is

merely conclusory statement without providing any specific evidence. Mr. Hatch failed to explain

that why the ordinary observer would apply a low level of attention and disregard the visual details.

In contrast, Defendant and Third-Party Respondents’ expert, Mr. Gandy, credibly explained in his

testimony that it is impossible to consider a design’s overall impression without examining its

details. See Dkt. 626, p. 33. “In other words, the overall impression is embodied in the details. Any

analysis that—like Hatch’s—ignores the details will fail to gain a proper perspective on the overall

impression of a design.” Id, at 34. “The Court’s analysis, guided by Gandy’s highly credible

method, examined the details of each design to understand the overall impression of each and

compare them. This analysis demonstrates that a reasonable jury could find that the accused

products are not substantially similar to the patents in suit, such that an ordinary observer would

not be deceived into believing that the accused products are the same as the patented design.” Id.

       Therefore, Plaintiffs’ argument that small visual details would not affect the ordinary

observer’s overall impression of the designs has already been considered and rejected by the Court,

and small differences between the Patents-in-Suit and Accused Products are likely to be important

to the eye of the hypothetical ordinary observer.

          The Accused Products are plainly dissimilar to the claimed designs of the Patents-in-
          Suit.

       Courts routinely grant summary judgment in design patent infringement cases where the

claimed and accused designs are plainly dissimilar based on a side-by-side visual comparison

under the ordinary observer test. Where the claimed and accused designs are “sufficiently distinct”

and “plainly dissimilar,” the patentee fails to meet its burden of proving infringement as a matter


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of law. Ethicon, 796 F.3d at 1335; Richardson, 597 F.3d at 1295-96 (affirming summary judgment

of noninfringement based on dissimilarity of claimed and accused designs); see also Competitive

Edge, Inc. v. Staples, Inc., 763 F. Supp. 2d 997, 1012 (N.D. Ill. 2010) (“When the patented design

and the accused design are plainly dissimilar, as in this case, there is no need to look to the prior

art, because two designs may be sufficiently distinct that it will be clear without more that the

patentee has not met its burden.”).

       In this case, there is no genuine question of fact that, in the eye of an ordinary observer,

the visual appearance of the claimed designs of the Patents-in-Suit are plainly dissimilar to the

Accused Products. The plain dissimilarity becomes even more apparent after factoring out

functional aspects of the claimed designs of the Patents-in-Suit. Design patents only protect

ornamental features and thus “functional aspects of the claimed designs are properly excluded

from the infringement analysis.” Ethicon, 796 F.3d at 1315.

       In Richardson, the Federal Circuit affirmed summary judgment of noninfringement based

on the differences between the claim and accused designs after factoring out the functional aspects.

Richardson, 597 F.3d at 1294. The claimed tool design included numerous features, including a

handle, a hammerhead, a jaw, and a crowbar that were dictated by their functional purposes. Id.

The court explained that “[t]he jaw, for example, has to be located on the opposite end of the

hammer head such that the tool can be used as a step” and “[t]he hammer-head has to be flat on its

end to effectively deliver force to the object being struck.” Id. Accordingly, the district court

properly excluded each of these utilitarian features from the scope of the claimed design, and

consequentially, the Federal Circuit affirmed summary judgment of noninfringement. Id.

       Similarly, all Patents-in-Suit comprise of six design elements: two identical standing pads,

two identical wheels, and two indicial wheel covers. See Table A below.



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                                             Table A
      Patents-in-Suit D737,723 Patent             Patents-in-Suit D738,256 Patent




      Patents-in-Suit D784,195 Patent                Patents-in-Suit D785,112 Patent




       It is undisputed that the “foot placement stations,” “wheels,” and “wheel covers”, each

carries essential utilitarian functions of a hoverboard – to stand, to move and operate, and to

prevent road debris from being thrown into the air by the rotating wheels. In addition, the overall

shapes of the claimed designs of the Patents-in-Suit are largely based on functionality. [Decl. of

Rake, Ex.3]. The dimensions correspond to the dimensions of a human foot, the distance between

footpads corresponds to approximate “shoulder width” dimensions of the user, the narrowing at

the center facilitates the needed twisting motion without interference with the user or the ground.

Id.

       Any similarity between the Accused Products and the claimed design of the Patents-in-Suit

arises from the functional features and the overall hourglass shape. As shown below, when

hourglass shapes and functional aspects are factored out, the differences between the claimed

designs of the Patents-in-Suit and the Accused Products are readily apparent at a glance. The

design differences would be immediately recognized by the ordinary observer.

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                     Gyroor A — Ornamental Design Comparison
   Patents-in-suit           Patents-in-suit          Patents-in-suit
   D’723 Patent              D’256 Patent             D’195 Patent




   Patents-in-suit            Gyroor A                   D’857 Patent
   D’112 Patent




                     Gyroor A — Ornamental Design Comparison 2
   Patents-in-suit            Patents-in-suit         Patents-in-suit
   D’723 Patent               D’256 Patent            D’195 Patent




   Patents-in-suit            Gyroor A                  D’857 Patent
   D’112 Patent




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                     Gyroor B — Ornamental Design Comparison 1
   Patents-in-suit            Patents-in-suit           Patents-in-suit
   D’723 Patent               D’256 Patent              D’195 Patent




   Patents-in-suit            Gyroor B                     D’856 Patent
   D’112 Patent




                  Accused Product B — Ornamental Design Comparison 2
   Patents-in-suit             Patents-in-suit           Patents-in-suit
   D’723 Patent                D’256 Patent              D’195 Patent




   Patents-in-suit            Gyroor B                    D’856 Patent
   D’112 Patent




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                     Gyroor C — Ornamental Design Comparison 1
   Patents-in-suit            Patents-in-suit           Patents-in-suit
   D’723 Patent               D’256 Patent              D’195 Patent




   Patents-in-suit            Gyroor C                   D’857 Patent
   D’112 Patent




                     Gyroor C — Ornamental Design Comparison 2
   Patents-in-suit            Patents-in-suit         Patents-in-suit
   D’723 Patent               D’256 Patent            D’195 Patent




   Patents-in-suit            Gyroor C                  D’857 Patent
   D’112 Patent




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                     Gyroor D — Ornamental Design Comparison 1
   Patents-in-suit            Patents-in-suit          Patents-in-suit
   D’723 Patent               D’256 Patent             D’195 Patent




   Patents-in-suit            Gyroor D                   D’297 Patent
   D’112 Patent




                     Gyroor D — Ornamental Design Comparison 2
   Patents-in-suit            Patents-in-suit         Patents-in-suit
   D’723 Patent               D’256 Patent            D’195 Patent




   Patents-in-suit            Gyroor D                  D’297 Patent
   D’112 Patent




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                          Gyroor E — Ornamental Design Comparison
     Patents-in-suit              Patents-in-suit           Patents-in-suit
     D’723 Patent                 D’256 Patent              D’195 Patent




     Patents-in-suit                Gyroor E                        D’857 Patent
     D’112 Patent




       Thus, when these functional aspects are properly discounted and the remaining ornamental

designs are compared, there is no question of fact that, in the eyes or an ordinary observer, the

claimed design of the Patents-in-Suit different substantially from the Accused Products. See

OddzOn, 122 F.3d at 1406. (“affirming summary judgment of non-infringement where “overall

similarity” of two rocket shaped balls was based on the functional tail and fins of the balls and not

on the ornamental features of the design”).

          In the light of the D’906 patent, no ordinary observer would think the design of Accused
          Products is substantially similar to the claimed designs of the Patents-in-Suit.

       Even if the Court finds that the claimed and accused designs are not plainly dissimilar, the

comparison “will benefit from a comparison of the claimed and accused designs with the prior art.”

Egyptian Goddess, 543 F.3d at 678. When the prior art is considered, Defendant and Third-Party

Respondents should prevail as a matter of law because no ordinary observer would think the design

of the Accused Products is substantially similar to the claimed designs of the Patents-in-Suit.



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       A detailed side-by-side comparation among Patents-in-Suit, the prior art and Accused

Products are illustrated as below:

           (1) Gyroor A

                 a. Non-infringement of the ’D723 Patent by Gyroor A
       There are several key design differences between the design claim of the ’D723 Patent and

Gyroor A. From the top and front views, the differences in the shape and design of the footpads

are clear. See Decl. of Rake, Ex. 3, ¶53. Dkt. 629. An ordinary observer familiar with the prior art

and other products in the marketplace would recognize that the ’D723 Patent has prominent

elliptical design element in the middle compared to Gyroor A, which is completely different,

without any elliptical design element. Id.

       The bottom and back views also play a role in an ordinary observer’s understanding the

overall visual appearance of the designs. A bottom view reveals substantial design differences. Id.

¶56. There is a prominent central design detail at the center, two strong styling recess areas under

the feet, and vent hole patterns that are readily noticed because of the Figure-Ground gestalt, as

well as Closure, Similarity, and Proximity. Id.




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       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. Id. ¶57. Even to the most

casual observer, the differences are significant.




                 b. Non-infringement of the ’D256 Patent by Gyroor A
       There are several key design differences between the design claim of the ’D256 Patent and

Gyroor A. From the top and front views, the differences in the shape and design of the footpads

are clear. Id. ¶59. An ordinary observer familiar with the prior art and other products in the

marketplace would recognize that the ’D256 Patent has prominent design element in the middle

while Gyroor A is clean, with any such design element. Id.

       The bottom and back views also play a role in an ordinary observer’s understanding the

overall visual appearance of the designs. A bottom view reveals substantial design differences. Id.

¶62. There is a prominent central design detail at the center, two strong styling recess areas under

the feet, and vent hole patterns that are readily noticed because of the Figure-Ground gestalt, as

well as Closure, Similarity, and Proximity. Id.




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       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. Id. ¶63. Even to the most

casual observer, the differences are significant.




                 c. Non-infringement of the ’D195 Patent by Gyroor A
       There are several key design differences between the design claim of the ’D195 Patent and

Gyroor A. From the top and front views, the differences in the shape and design of the footpads

are clear. Id. ¶65. An ordinary observer familiar with the prior art and other products in the

marketplace would recognize the ’D195 Patent has prominent design element in the middle and

while Gyroor A is clean, with any such design element. Id.



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       The bottom and back views also play a role in an ordinary observer’s understanding the

overall visual appearance of the designs. A bottom view reveals substantial design differences. Id.

¶68. There is a prominent central design detail at the center, two strong styling recess areas under

the feet, and vent hole patterns that are readily noticed because of the Figure-Ground gestalt, as

well as Closure, Similarity, and Proximity. Id.




       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. Id. ¶69. Even to the most

casual observer, the differences are significant.




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           (2) Gyroor B

                 a. Non-infringement of the ’D723 Patent by Gyroor B
       There are several key design differences between the design claim of the ’D723 Patent and

Gyroor B. From the top and rear views the concavely curved recessed center portion of the top

surface of the claimed design of the ‘723 patent and the design of the prior art ‘906 patent both

have a slightly raised convex contour, while the corresponding center portion of the top surface of

the design of Gyroor “B” hoverboard is substantially flat and slightly recessed down below the

opposing outer foot surfaces. Front view ‘723 patent Rear view ‘723 patent . See Decl. of Gandy,

Ex. 2, ¶47. Dkt. 629. Furthermore, it’s noted that the wheel covers at each end of the claimed

design of the ‘723 patent, the design of the prior art ‘906 patent and the design of the Gyroor “B”

hoverboard differ from each other as shown in the top plan view and front and rear views above

as well as the side view and perspective view below. However, it’s my opinion that the shape and

appearance of the wheel covers in the claimed design of the ‘723 patent are closer to the wheel

covers shown in broken lines in the design of the prior art ‘906 patent than the wheel covers of the

design of the Gyroor “B” hoverboard. Id. ¶48. Specifically, the wheel covers shown on the claimed

design of the ‘723 patent and the design of the prior art ‘906 patent are both semi-circular in shape

and extend over and cover the entire wheel, while the wheel covers on the design of Gyroor “B”

hoverboard have opposing diagonally straight side edges a substantially flat top edge which curves

outwardly but does not extend over the entire wheel, but rather partially over the wheel. Id.




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       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. See Decl. of Rake, Ex. 3,

¶57. Dkt. 629. Even to the most casual observer, the differences are significant.




                 b. Non-infringement of the ’D256 Patent by Gyroor B
       There are several key design differences between the design claim of the ’D256 Patent and

Gyroor B. From the top and front views, the differences in the shape and design of the footpads

are clear. Id. ¶59. An ordinary observer familiar with the prior art and other products in the

marketplace would recognize that the ’D256 Patent has prominent design element in the middle

while Gyroor B is clean, without any such design element. Id.



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       The bottom and back views also play a role in an ordinary observer’s understanding the

overall visual appearance of the designs. A bottom view reveals substantial design differences. Id.

¶62. There is a prominent central design detail at the center, two strong styling recess areas under

the feet, and vent hole patterns that are readily noticed because of the Figure-Ground gestalt, as

well as Closure, Similarity, and Proximity. Id.




       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. See Decl. of Rake, Ex. 3,

¶57. Even to the most casual observer, the differences are significant.




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                 c. Non-infringement of the ’D195 Patent by Gyroor B
       There are several key design differences between the design claim of the ’D195 Patent and

Gyroor B. The hour glass peripheral shape of the prior art ‘906 patent appears to be closer to the

claimed design of the ‘195 patent than the design of Gyroor “B” hoverboard. Specifically, the

recessed center portion of the claimed design of the ‘195 patent and the design of the prior art ‘906

patent are concavely curved, whereas the recessed center portion of the design of the Gyroor “B”

hoverboard has a truncated “v” shape appearance comprising opposing diagonally straight edges

that connect to a horizontally straight inner edge. [Decl. of Gandy, Ex. 2, ¶59]. .

       In addition, the claimed design of the ‘195 patent, the design of the prior art ‘906 patent

and the design of the Gyroor “B” hoverboard are all comprised of the same general components,

namely, opposing outer foot surfaces that are substantially flat, a recessed center portion and wheel

covers at each end. Id. ¶57. As will be apparent from the remaining views set forth below, namely,

front, rear, side, perspective and bottom the specific shape and appearance of most of the surfaces

and features of the claimed design of the ‘195 patent, the design of the prior art ‘906 patent and

the design of the Gyroor “B” hoverboard differ significantly from each other. Id.

       The bottom and back views also play a role in an ordinary observer’s understanding the

overall visual appearance of the designs. A bottom view reveals substantial design differences. See

Decl. of Rake, Ex. 3, ¶68. There is a prominent central design detail at the center, two strong

styling recess areas under the feet, and vent hole patterns that are readily noticed because of the

Figure-Ground gestalt, as well as Closure, Similarity, and Proximity. Id.




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       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. Id. ¶69. Even to the most

casual observer, the differences are significant.




                  d. Non-infringement of the ’D112 Patent by Gyroor B
       There are several key design differences between the design claim of the ’D112 Patent and

Gyroor B. The recessed center portion of the claimed design of the ‘112 patent and the design of

the prior art ‘906 patent are concavely curved, whereas the recessed center portion of the design

of the Gyroor “B” hoverboard has a truncated “v” shape appearance comprising opposing

diagonally straight edges that connect to a horizontally straight inner edge. See Decl. of Gandy,

Ex. 2, ¶64. In addition, the claimed design of the ‘112 patent, the design of the prior art ‘906 patent

and the design of the Gyroor “B” hoverboard are all comprised of the same general components,

namely, opposing outer foot surfaces that are substantially flat, a recessed center portion and wheel

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covers at each end. Id. The front, rear, side, perspective and bottom the specific shape and

appearance of most of the surfaces and features of the claimed design of the ‘112 patent, the design

of the prior art ‘906 patent and the design of the Gyroor “B” hoverboard differ significantly from

each other. Id. The shape and appearance of the wheel covers in the claimed design of the ‘112

patent are closer to the wheel covers shown in broken lines in the design of the prior art ‘906 patent

than the wheel covers of the design of the Gyroor “B” hoverboard. Specifically, the wheel covers

shown on the claimed design of the ‘112 patent and the design of the prior art ‘906 patent are both

semi-circular in shape and extend over and cover the entire wheel, while the wheel covers on the

design of Gyroor “B” hoverboard have opposing diagonally straight side edges a substantially flat

top edge which curves outwardly but do not extend over the entire wheel, but rather partially over

the wheel. Id. ¶74. There is a prominent central design detail at the center, two strong styling recess

areas under the feet, and vent hole patterns that are readily noticed because of the Figure-Ground

gestalt, as well as Closure, Similarity, and Proximity. See Decl. of Rake, Ex. 3, ¶74.




       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. See Decl. of Rake, Ex. 3,

¶75, Dkt. 629. Even to the most casual observer, the differences are significant.



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           (3) Gyroor C

                 a. Non-infringement of the ’D723 Patent by Gyroor C
       There are several key design differences between the design claim of the ’D723 Patent and

Gyroor C. The front, rear, side, perspective and bottom the specific shape and appearance of the

surfaces and features of the design of the prior art ‘906 patent are, in my opinion, closer to the

claimed design of the ‘723 patent than the design of the Gyroor “C” hoverboard. See Decl. of

Gandy, Ex. 2, ¶69. Dkt 629. For instance, as can be seen in the front and rear views below, the

concavely curved recessed center portion of the top surface of the claimed design of the ‘723 patent

and the design of the prior art ‘906 patent both have a slightly raised convex contour, while the

corresponding center portion of the top surface of the design of the Gyroor “C” hoverboard is

substantially flat and slightly recessed down below the opposing outer foot surfaces Id. The wheel

covers of the ‘723 patent, the design of the prior art ‘906 patent extend over and cover the entire

wheel, while the wheel covers on the design of Gyroor “C” hoverboard do not extend down over

the wheel. Id. ¶70.The bottom surface of the design of the Gyroor “C” hoverboard differs from

both the claimed design of the ‘723 patent and the design of prior art ‘906 patent in that the

opposing flat outer portions have a pattern of vent holes and just to the inside of the vent holes is

a slight diagonally downwardly protruding arcuate edge. In addition, the recessed central portion


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of the design of the Gyroor “C” hoverboard is defined by opposing slight diagonally downwardly

protruding arcuate edges with the center portion having six narrow longitudinal ribs. Id. ¶73.




       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. See Decl. of Rake, Ex. 3,

¶53. Dkt. 629. Even to the most casual observer, the differences are significant.




                 b. Non-infringement of the ’D256 Patent by Gyroor C
       There are several key design differences between the design claim of the ’D256 Patent and

Gyroor C. The front, rear, side, perspective and bottom, the specific shape and appearance of the

surfaces and features of the design of the prior art ‘906 patent are, in my opinion, closer to the

claimed design of the ‘256 patent than the design of the Gyroor “C” hoverboard. See Decl. of

Gandy, Ex. 2, ¶75. Dkt 629. For instance as can be seen in the front and rear views below, the
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concavely curved recessed center portion of the top surface of the claimed design of the ‘256 patent

and the design of the prior art ‘906 patent both have a slightly raised convex contour, while the

corresponding center portion of the top surface of the design of the Gyroor “C” hoverboard is

substantially flat and slightly recessed down below the opposing outer foot surfaces. Id. The

bottom surface of the design of the Gyroor “C” hoverboard differs from both the claimed design

of the ‘256 patent and the design of prior art ‘906 patent in that the opposing flat outer portions

have a pattern of vent holes and just to the inside of the vent holes is a slight diagonally

downwardly protruding arcuate edge. In addition, the recessed central portion of the design of the

Gyroor “C” hoverboard is defined by opposing slight diagonally downwardly protruding arcuate

edges with the center portion having six narrow longitudinal ribs. Id. ¶79.

       There is a prominent central design detail at the center, two strong styling recess areas

under the feet, and vent hole patterns that are readily noticed because of the Figure-Ground gestalt,

as well as Closure, Similarity, and Proximity. See Decl. of Rake, Ex. 3, ¶¶61-62. Dkt. 629.

       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. See Decl. of Rake, Ex 4,

¶63. Dkt. 629. Even to the most casual observer, the differences are significant.

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                     c. Non-infringement of the ’D195 Patent by Gyroor C
       There are several key design differences between the design claim of the ’D195 Patent and

Gyroor C. From the top and front views, the differences in the shape and design of the footpads

are clear. Id. The front, rear, side, perspective and bottom the specific shape and appearance of

most of the surfaces and features of the claimed design of the ‘195 patent, the design of the prior

art ‘906 patent and the design of the Gyroor “C” hoverboard differ significantly from each other.

See Decl. of Gandy, Ex. 2, ¶81. Dkt. 629. The concavely curved recessed center portion of the top

surface of the claimed design of the ‘195 patent and the design of the prior art ‘906 patent protrude

upwardly from the opposing outer foot surfaces, while the corresponding center portion of the top

surface of the design of the Gyroor “C” hoverboard is substantially flat and slightly recessed down

below the opposing outer foot surfaces. Id.

       The wheel covers of the ‘195 patent, the design of the prior art ‘906 patent extend over and

cover the entire wheel, while the wheel covers on the design of Gyroor “C” hoverboard do not

extend down over the wheel. Id. ¶82. There is a prominent central design detail at the center, two

strong styling recess areas under the feet, and vent hole patterns that are readily noticed because

of the Figure-Ground gestalt, as well as Closure, Similarity, and Proximity. See Decl. of Rake, Ex.

3, ¶68. Dkt. 629.

       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. See Decl. of Rake, Ex 4,

¶68. Dkt. 629. Even to the most casual observer, the differences are significant.




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           (4) Gyroor D

                  a. Non-infringement of the ’D723 Patent by Gyroor D
       There are several key design differences between the design claim of the ’D723 Patent and

Gyroor D. The recessed center portion of the claimed design of the ‘723 patent and the design of

the prior art ‘906 patent are concavely curved, whereas the recessed center portion of the design

of the Gyroor “D” hoverboard has a truncated “v” shape appearance comprising opposing

diagonally straight edges that connect to a horizontally straight inner edge. See Decl. of Gandy Ex.

2, ¶86. Dkt. 629. In addition, the claimed design of the ‘723 patent, the design of the prior art ‘906

patent and the design of Gyroor “D” hoverboard are all comprised of the same general components,

namely, opposing outer foot surfaces that are substantially flat, a recessed center portion and wheel

covers at each end. Id.

        In the front and rear views below, the concavely curved recessed center portion of the top

surface of the claimed design of the ‘723 patent and the design of the prior art ‘906 patent both

have a slightly raised convex contour, while the corresponding center portion of the top surface of

the design of the Gyroor “D” hoverboard is slightly recessed down below the opposing outer foot

surfaces and has a pattern of longitudinal ribs that extend down onto the front and rear surfaces.


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Id. The bottom and back view also play a role in an ordinary observer’s understanding the overall

visual appearance of the designs. See Decl. of Rake, Ex 4, ¶53. Dkt. 629. A bottom view reveals

substantial design differences. Id. There is a prominent central design detail at the center, two

strong styling recess areas under the feet, and vent hole patterns that are readily noticed because

of the Figure Ground gestalt, as well as Closure, Similarity, and Proximity. Id.




       a. Non-infringement of the ’D256 Patent by Gyroor D

       There are several key design differences between the design claim of the ’D256 Patent and

Gyroor D. The recessed center portion of the claimed design of the ‘256 patent and the design of

the prior art ‘906 patent are concavely curved, whereas the recessed center portion of the design

of the Gyroor “D” hoverboard has a truncated “v” shape appearance comprising opposing

diagonally straight edges that connect to a horizontally straight inner edge. See Decl. of Gandy,

Ex 3, ¶53. Dkt. 629. The concavely curved recessed center portion of the top surface of the claimed

design of the ‘256 patent and the design of the prior art ‘906 patent both have a slightly raised

convex contour, while the corresponding center portion of the top surface of the design of the



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Gyroor “D” hoverboard is slightly recessed down below the opposing outer foot surfaces and has

a pattern of longitudinal ribs that extend down onto the front and rear surfaces. Id. .

       The wheel covers shown on the claimed design of the ‘256 patent and the design of the

prior art ‘906 patent are both semi-circular in shape, while the wheel covers on the design of

Gyroor “D” hoverboard have opposing diagonally straight side edges a substantially flat top edge

which curves outwardly. Id. ¶93. The bottom and back views also play a role in an ordinary

observer’s understanding the overall visual appearance of the designs. A bottom view reveals

substantial design differences. Id. See Decl. of Rake, Ex 4, ¶61. Dkt. 629. There is a prominent

central design detail at the center, two strong styling recess areas under the feet, and vent hole

patterns that are readily noticed because of the Figure-Ground gestalt, as well as Closure,

Similarity, and Proximity. Id. ¶62.




       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. Id. ¶63. Even to the most

casual observer, the differences are significant.




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       b. Non-infringement of the ’D195 Patent by Gyroor D

       There are several key design differences between the design claim of the ’D195 Patent and

Gyroor D. The recessed center portion of the claimed design of the ‘195 patent and the design of

the prior art ‘906 patent are concavely curved, whereas the recessed center portion of the design

of the Gyroor “D” hoverboard has a truncated “v” shape appearance comprising opposing

diagonally straight edges that connect to a horizontally straight inner edge. See Decl. of Gandy,

Ex 3, ¶98. Dkt. 629. The front, rear, side, perspective and bottom the specific shape and appearance

of most of the surfaces and features of the claimed design of the ‘195 patent, the design of the prior

art ‘906 patent and the design of the Gyroor “D” hoverboard differ significantly from each other.

Id. Specifically, the wheel covers shown on the claimed design of the ‘195 patent and the design

of the prior art ‘906 patent are both semi-circular in shape and extend over and cover the entire

wheel, while the wheel covers on the design of Gyroor “D” hoverboard have opposing diagonally

straight side edges a substantially flat top edge which curves outwardly but does not extend over

the entire wheel. Id. ¶99.

       The bottom and back views also play a role in an ordinary observer’s understanding the

overall visual appearance of the designs. A bottom view reveals substantial design differences. See

Decl. of Rake, Ex 4, ¶67. Dkt. 629. There is a prominent central design detail at the center, two

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strong styling recess areas under the feet, and vent hole patterns that are readily noticed because

of the Figure-Ground gestalt, as well as Closure, Similarity, and Proximity. Id. ¶68




       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. Id. ¶69. Even to the most

casual observer, the differences are significant.




       c. Non-infringement of the ’D112 Patent by Gyroor D

       There are several key design differences between the design claim of the ’D112 Patent and

Gyroor D. The recessed center portion of the claimed design of the ‘112 patent and the design of

the prior art ‘906 patent are concavely curved, whereas the recessed center portion of the design

of the Gyroor “D” hoverboard has a truncated “v” shape appearance comprising opposing

diagonally straight edges that connect to a horizontally straight inner edge. See Decl. of Gandy,



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Ex 3, ¶103. Dkt. 629. The concavely curved recessed center portion of the top surface of the

claimed design of the ‘112 patent and the design of the prior art ‘906 patent both have a slightly

raised convex contour, while the corresponding center portion of the top surface of the design of

the Gyroor “D” hoverboard is slightly recessed down below the opposing outer foot surfaces and

has a pattern of longitudinal ribs that extend down onto the front and rear surfaces . Id.

       The bottom and back views also play a role in an ordinary observer’s understanding the

overall visual appearance of the designs. A bottom view reveals substantial design differences.

Decl. of Rake, Ex 4, ¶73. Dkt. 629. There is a prominent central design detail at the center, two

strong styling recess areas under the feet, and vent hole patterns that are readily noticed because

of the Figure-Ground gestalt, as well as Closure, Similarity, and Proximity. Id. ¶74.




       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. Id. ¶75. Even to the most

casual observer, the differences are significant.




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           (5) Gyroor E

       There are several key design differences between the design claim of the Patents-in-Suit

and Gyroor E. From the top and front views, the differences in the shape and design of the footpads

are clear. An ordinary observer familiar with the prior art and other products in the marketplace

would recognize the Patents-in-Suit have prominent design element in the middle and the Gyroor

E is clean, without any such design element.

       The bottom and back views also play a role in an ordinary observer’s understanding the

overall visual appearance of the designs. A bottom view reveals substantial design differences.

There is a prominent central design detail at the center, two strong styling recess areas under the

feet, and vent hole patterns that are readily noticed because of the Figure-Ground gestalt, as well

as Closure, Similarity, and Proximity.

       Another important design feature that has a significant effect on the overall visual

impression of the ordinary observer is the size and shape of the fenders. Even to the most casual

observer, the differences are significant.

       (1) Conclusion



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       An ordinary observer, familiar with the prior art, would not be confused when observing

the claimed designs of the Patents-in-Suit, the claimed designs of the Accused Products, and the

design of the prior art of the ‘906 Patent. The shape and appearance of the few features common

to the claimed design of the Patents-in-Suit and the design of the prior art ‘906 are not found in

the claimed design of Accused Products and are so substantially different such that an “ordinary

observer”, familiar with the prior art, would not be confused so as to purchase one thinking it to

be the other. Therefore, the design of Accused Products does not infringe the claimed design of

the Patents-in-Suit.

                                      V.    CONCLUSION

       For the foregoing reasons, all of Plaintiffs’ expert reports by Mr. Hatch, including the

inadmissible new declaration, should be excluded. Accordingly, without submitting any

admissible evidence for their opposition, Plaintiffs’ conclusory statements cannot create a disputed

issue of material fact. Therefore, Defendant and Third-Party Respondents respectfully request the

Court find that the Accused Products does not infringe on the Patents-in-Suit.




 Date: 2/8/2023                                        /s/ Wei Wang
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this February 8, 2023, I electronically filed the foregoing

file with the Clerk of Court using the CM/ECF system, and service was perfected on all counsel

of record and interested parties through this system, which will deliver a true and correct copy of

the foregoing documents via CM/ECF.




 Date: 2/8/2023                                  /s/ Wei Wang
                                                 Wei Wang




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